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  1                       COURT OF COMMON PLEAS

  2                       HAMILTON COUNTY, OHIO

  3                                     - - -

  4    STATE OF OHIO,                      :

  5                    Plaintiff.          :

  6    vs.                                 :Case Number B1003262

  7    RUBEN JORDAN,                       :Appeal Number C1100833

  8                   Defendant.           :Volume IV of X

  9                    TRANSCRIPT OF PROCEEDINGS

 10                                    - - -

 11    APPEARANCES:

 12           Seth S. Tieger, Esq.
              Megan E. Shanahan, Esq.
 13                On behalf of the State of Ohio.

 14           William P. Whalen, Jr., Esq.
              Amy R. Williams, Esq.
 15                On behalf of the Defendant.

 16

 17

 18                   BE IT REMEMBERED that upon the Jury

 19    Trial of this cause, on January 14, 2011, before

 20    the Honorable NADINE L. ALLEN, a judge of the

 21    said court, the following proceedings were had,

 22    to wit:

 23

 24

 25
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  1

  2    OFFICER ANDREW FUSSELMAN
             Direct Examination ........... Page 426, Line 13
  3          Cross-Examination ............ Page 437, Line 10

  4    DEAN SHADE, JR.
             Direct Examination ........... Page                   440,   Line   18
  5          Cross-Examination ............ Page                   458,   Line   20
             Redirect Examination ......... Page                   472,   Line   22
  6          Recross-Examination .......... Page                   475,   Line   19

  7    PAUL GLINDMEYER
             Direct Examination ........... Page 478, Line 15
  8          Cross-Examination ............ Page 505, Line 6

  9    JOHN HEILE
             Direct Examination ........... Page 515, Line 3
 10          Cross-Examination ............ Page 539, Line 15

 11    WILLIAM HARRY
             Direct Examination ........... Page                   545,   Line   13
 12          Cross-Examination ............ Page                   559,   Line   13
             Redirect Examination ......... Page                   561,   Line   14
 13          Recross-Examination .......... Page                   563,   Line   6
             Further Redirect Examination . Page                   563,   Line   22
 14
       MONA GRETEL STEPHENS, MD
 15          Direct Examination ........... Page 567, Line 1
             Cross-Examination ............ Page 602, Line 7
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  1                    MORNING SESSION, January 14, 2011

  2                       THE COURT:       Good morning.         You may

  3              be seated.        Everyone, are we ready to

  4              bring in the jury or still working on

  5              something, Counsel?

  6                       MR. TIEGER:        Judge, we are ready.

  7                       MR. WHALEN:        We are ready.

  8                       THE COURT:       Everyone is ready.            All

  9              right.

 10                       MR. BRENNER:        All rise for the

 11              jury.

 12                       (The jury entering the courtroom at

 13              10:20 a.m.)

 14                       THE COURT:       All right.        You may all

 15              be seated.        I believe the State is ready

 16              to call the next witness.

 17                       MR. TIEGER:        Yes, Your Honor.

 18                       THE COURT:       And that would be?

 19                       MR. TIEGER:        Dean Shade.

 20                       THE COURT:       Good morning, ladies

 21              and gentlemen, members of the jury.

 22                       JURORS:      Good morning.

 23                       THE COURT:       And we would like to

 24              welcome back Dee-Dee Mitchell here today,

 25              and you'll be in her care and custody
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  1              today also.

  2                       BAILIFF:       Thank you for having me,

  3              Judge.

  4                       MR. TIEGER:        Judge, he might be in

  5              the restroom.         I'm going to start with

  6              Police Officer Fusselman.

  7                       THE COURT:       That's fine.

  8                     OFFICER ANDREW FUSSELMAN,

  9    having been first duly sworn, was examined and

 10    testified as follows:

 11                       THE COURT:       You may have a seat

 12              right here, Officer.

 13                          DIRECT EXAMINATION

 14    BY MR. TIEGER:

 15              Q.       Sir, would you please state your

 16    name and spell your last name.

 17              A.       Police Officer Andrew Fusselman,

 18    F-U-S-S-E-L-M-A-N.

 19              Q.       What's your occupation?

 20              A.       Patrol officer, District 4.

 21              Q.       And is that for the City of

 22    Cincinnati Police?

 23              A.       Yes.

 24              Q.       How long have you been a Cincinnati

 25    police officer?
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  1              A.       Three-and-a-half years.

  2              Q.       And you're assigned to District 4

  3    right now?

  4              A.       Yes.

  5              Q.       What area is the District 4 area?

  6              A.       It's Mt. Auburn, Avondale, Walnut

  7    Hills, Bond Hill, Roselawn.

  8              Q.       And are you -- have you also been

  9    in District 4?

 10              A.       No.

 11              Q.       Where did you start out?

 12              A.       District 1.

 13              Q.       And we have heard, I think, from

 14    another officer that's downtown Over-the-Rhine,

 15    the West End, Mt. Adams?

 16              A.       Correct.

 17              Q.       I'm going to direct your attention

 18    back to October 16th of 2008, it was around one

 19    in the morning or so.             Did you respond to an

 20    area near the corner of Republic and Elder?

 21              A.       Yes.

 22              Q.       And why did you respond to that

 23    area?

 24              A.       We had a shooting that occurred

 25    that night.
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  1              Q.       What did you find when you got to

  2    the scene?

  3              A.       I believe his name was Brian

  4    Austin.        He was deceased at the corner of Elder

  5    and Goose Alley.

  6              Q.       And was there a role that you had

  7    at the scene that was particular to this case?

  8              A.       I took a post at Elder and Race

  9    Street blocking traffic because we extended the

 10    crime scene out to that far.

 11              Q.       And when you say "a post", what

 12    does that mean, Officer Fusselman?

 13              A.       Just a traffic post to block

 14    traffic from going down that street.

 15              Q.       And at a certain point later on

 16    down the road, did a potential witness -- did

 17    you have contact with a potential witness?

 18              A.       Yes.

 19              Q.       Could you describe to the jury how

 20    that happened?

 21              A.       After a witness came forward by, I

 22    believe, cell phone, another officer went over

 23    and gathered this witness, gave him to me and

 24    said will you watch him?

 25              Q.       And by watching him, you had -- do
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  1    you end up watching him, Officer Fusselman?

  2              A.       I asked him if he wanted to sit

  3    outside or inside my police vehicle.                   He said he

  4    would rather sit inside my police vehicle.

  5              Q.       What was that witness's name?

  6              A.       Victor Davis.

  7              Q.       How long was Victor Davis in your

  8    vehicle that morning, Officer Fusselman?

  9              A.       About an hour to an hour and 15

 10    minutes.

 11              Q.       And did you speak to Mr. Davis?

 12              A.       Yes.

 13              Q.       What type of things was Mr. Davis

 14    saying at the scene?

 15              A.       He asked how long it's going to be

 16    before he gets transported down to CIS where

 17    homicide is located.            And I asked him, you know,

 18    we don't know how long it's gonna be, the

 19    homicide investigators have to do their work at

 20    the scene before they take all witnesses down

 21    and question them.

 22              Q.       And did he say anything about his

 23    visibilty at the scene at all?

 24              A.       Yeah, he wanted to know if the

 25    windows of the police cruiser in the back seat,
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  1    if they are tinted or blacked out or anything,

  2    because he was scared that someone would see him

  3    talking to a police officer in the back of my

  4    car.

  5              Q.       Is that a normal protocol, Officer

  6    Fusselman, in a case like a homicide or serious

  7    shooting, for the homicide detectives not to

  8    interview somebody on the scene, but for the

  9    patrol officer, like yourself, to hold them and

 10    then transport them for a more formal interview?

 11              A.       Yes.

 12              Q.       Have you done that before?

 13              A.       Yes.

 14              Q.       Let's move on then to, I believe it

 15    was Halloween night, October 31st of 2008, were

 16    you on duty on that night?

 17              A.       Yes.

 18              Q.       And were you in uniform in a marked

 19    police car?

 20              A.       Yes.

 21              Q.       And directing your attention to

 22    around 11:25 to 11:30 that night, where were you

 23    located?

 24              A.       I was southbound at Race Street and

 25    McMicken.
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  1              Q.       Did you have a partner?

  2              A.       Not that night.

  3              Q.       Okay.     Just riding alone?

  4              A.       Yes.

  5              Q.       Routine patrol?

  6              A.       Yes.

  7              Q.       And was there anything unusual that

  8    happened around 11:25, 11:30 that evening?

  9              A.       We had a shots fired which

 10    essentially turned into a shooting run come out.

 11              Q.       Could you describe to the jury

 12    again, Officer Fusselman, in your own words,

 13    where you were, what happened and what you did?

 14              A.       I'm sorry.       Could you repeat that?

 15              Q.       Once you got the run about the

 16    shooting, what did you do?

 17              A.       Since I was real close to the area

 18    that they called it in, which was Republic and

 19    Elder, it's a block over from Race Street.                      I

 20    proceeded down Race, turned eastbound on Elder,

 21    turned up Goose Alley, which is a little alley

 22    between Race and Republic.               Then came around the

 23    breezeway and stopped almost directly right on

 24    the person down who was shot.

 25              Q.       Okay.     How long did it take you to
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   1    get to the scene?

   2              A.       Fifteen to 20 seconds.

   3              Q.       Were you the first officer at the

   4    scene?

   5              A.       Yes.

   6              Q.       Could you describe to the jury what

   7    you saw when you got there?

   8              A.       I saw a person laying face down,

   9    half on the sidewalk, half on the street.                     I

  10    approached him, asked him if he was okay.                     He

  11    picked his head up, to me his eyes were kind of

  12    closed and just took like his last breath where

  13    he gasped for air and collapsed on the street.

  14              Q.       Was there something you were trying

  15    to figure out from him in terms of who had done

  16    this to him?

  17              A.       Yes, I asked him, you know, are you

  18    okay?     Who did this?         What were they wearing?

  19    The usual questions that we ask when we come

  20    across a victim.

  21              Q.       And why would -- was it obvious to

  22    you at the time, Officer Fusselman, that the

  23    gentleman on the ground was a shooting victim?

  24              A.       Yes.

  25              Q.       And are these -- you say they are
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   1    normal type of questions in a shooting.                    Why do

   2    you do that right when you get there?

   3              A.       We try to establish time frame,

   4    suspect, what they were wearing, what type of

   5    weapon was involved, and last known direction so

   6    we can set up a quadrant position to try and

   7    apprehend that individual.

   8              Q.       What is a quadrant position?

   9              A.       It's a -- you center yourself on

  10    the scene with the police officers at the scene

  11    and then four other officers take, you know,

  12    like a northeast, southwest quadrant positions

  13    to try to contain to a block.

  14              Q.       Okay.     You were not able to do that

  15    in this case?

  16              A.       No, I was the officer who was

  17    actually on scene.

  18              Q.       But in terms of the victim

  19    providing you information, in terms of where

  20    they went or what the suspect looked like?

  21              A.       No, he didn't even say anything to

  22    me.    Just took that last breath and then

  23    collapsed.

  24              Q.       Was there anything that you noticed

  25    about the crime scene, Officer Fusselman, that
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   1    was unusual or drew your attention to?

   2              A.       I noticed a big glob of spit about

   3    six, seven feet away from the victim.

   4              Q.       And what drew your attention to

   5    that glob of spit?

   6              A.       It just seemed unusual for that

   7    night and time because it was Halloween night,

   8    but it was kind of cold out.               And I know

   9    Republic Street at that time of night is not

  10    very well traveled.

  11              Q.       And did it seem to you to have a

  12    connection to the crime itself?

  13              A.       Yes.

  14              Q.       Was there anything about the spit

  15    that drew your attention to the potential age of

  16    it?

  17              A.       It was very fresh.           Like it still

  18    had phlegm.        It was actually thick on the ground

  19    still and had, I guess, you could say bubbles in

  20    it still that weren't popped.

  21              Q.       And noticing that glob of spit, in

  22    your mind, did you think it had just been put

  23    there?

  24              A.       Yes.

  25              Q.       As a result of that fresh spit and
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   1    your feeling that it was connected to the

   2    homicide, what did you do with regard to that

   3    spit?

   4              A.       Well, the fire department came on

   5    scene to do, you know, how they try to save the

   6    victim.        I told the fire department try to work

   7    on this side of the victim because there is

   8    evidence on this side over there.                 So they were

   9    trying to revive the victim real close to the

  10    building, or the wall, I didn't have much room

  11    to work with.

  12              Q.       So early on you were trying to

  13    preserve the integrity of the scene by

  14    preserving that --

  15              A.       Yes.

  16              Q.       -- potential evidence?            Did the

  17    firemen, did you keep watch of them to make sure

  18    they didn't disturb that?

  19              A.       Yes.

  20              Q.       Were they able to do anything to

  21    him to save his life at all?

  22              A.       They hooked up the, what is it,

  23    defibrillator pads on him, got the heart rate

  24    monitor on him and it didn't advise a shock and

  25    they pronounced him pretty much dead right there
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   1    on the scene.

   2              Q.       When was it, Officer Fusselman,

   3    that you made the connection between the Austin

   4    homicide to the gentleman that was laying on the

   5    ground on the 31st?

   6              A.       After the homicide detectives came

   7    and they searched the victim's pockets and they

   8    opened up his wallet and there was Detective

   9    Ballman's business card.             And I knew he looked

  10    familiar when I first came on, but he was face

  11    down.     When the fire department rolled him, I

  12    wasn't connecting it at that time, but it was

  13    then, when they pulled out his wallet and his

  14    business card, that I was like, this is the guy

  15    that I transported down to homicide.

  16              Q.       On that Saturday in your car?

  17              A.       Yes.

  18              Q.       And this area right here, is this

  19    all in the City of Cincinnati, Hamilton County,

  20    Ohio?

  21              A.       Yes.

  22              Q.       And did you remain on or about the

  23    scene until the homicide -- you talked about the

  24    homicide detectives getting the wallet and so

  25    forth.     You remained there until they were there
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   1    at the scene as well?

   2              A.       Yes.

   3              Q.       Was crime scene tape and everything

   4    done on this one the same as it was done on the

   5    Austin homicide?

   6              A.       Yes.

   7                       MR. TIEGER:       Just one moment.           No

   8              further questions, Officer.

   9                       THE COURT:       You may cross, Counsel.

  10                          CROSS-EXAMINATION

  11    BY MR. WHALEN:

  12              Q.       Officer Fusselman, you indicated

  13    that you were the first officer on the scene.

  14              A.       Correct.

  15              Q.       Did you see Victor Davis walking

  16    when you pulled up?

  17              A.       No, he was already laying on the

  18    sidewalk.

  19              Q.       Okay.     If an officer said that he

  20    was on the scene and saw Victor Davis staggering

  21    and then falling, how would he have seen that if

  22    you were the first one on the scene and he

  23    wasn't standing when you got there?

  24              A.       I can't answer that.           I don't know.

  25              Q.       Okay.     Do you know who the
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                                                                             438

   1    subsequent officers were on the scene?

   2              A.       Yes.

   3              Q.       Who were they?

   4              A.       I believe Officer Rock, Officer

   5    Lindle, Officer Knapp, Officer DeFranco were the

   6    most immediate ones on the scene.

   7              Q.       How long after you were there did

   8    Officer Knapp come in?

   9              A.       I would probably say a minute and a

  10    half, two minutes later.

  11              Q.       And DeFranco?

  12              A.       With Officer Knapp.

  13              Q.       And how about Officer Rock?

  14              A.       I would say he was second on scene,

  15    maybe 45 seconds to a minute after I was.

  16              Q.       And when you saw the victim, he was

  17    not face down at the scene?

  18              A.       His body position was face down but

  19    his head was to the left.

  20              Q.       Now, you said that this phlegm, you

  21    knew, was connected to the homicide?

  22              A.       I believed it was, yes.

  23              Q.       And what made you believe that?

  24              A.       Just with Republic Street being

  25    real close to Findlay Market, I know the workers
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   1    of Findlay Market do a real good job of keeping

   2    that area clean of like trash and debris.

   3              Q.       But there is foot traffic up and

   4    down the street on a regular basis?

   5              A.       Correct.

   6              Q.       And anybody could come down and

   7    deposit it there?

   8              A.       Yes.

   9              Q.       Okay.     As a matter of fact, there

  10    are people in the apartments that are right next

  11    to there?

  12              A.       Yes, sir.

  13              Q.       802 and 804 and 806?

  14              A.       Yes.

  15                       MR. WHALEN:       Okay.      Can I have one

  16              moment, Your Honor?

  17                       THE COURT:       Yes.

  18                       MR. WHALEN:       I have no other

  19              questions, Your Honor.

  20                       THE COURT:       Thank you, Officer.

  21              You may step down.

  22                       You interested in keeping him as a

  23              witness?

  24                       MR. WHALEN:       No, Your Honor.

  25                       THE COURT:       Potential witness?
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   1                       MR. TIEGER:       No, Your Honor.          Thank

   2              you.

   3                       THE COURT:       So he may leave?

   4                       MR. TIEGER:       He may be excused.

   5              That will be fine.

   6                       THE COURT:       Officer, you are

   7              excused.      Thank you for coming.

   8                       (Witness excused.)

   9                       MR. TIEGER:       Let me see if

  10              Mr. Shade is outside, Judge.               Yes, Judge.

  11              Judge, he has to be sworn.

  12                       THE COURT:       That's right, sir.

  13              Will you stand up, please and raise you

  14              right hand to be sworn?

  15                           DEAN SHADE, JR.,

  16    having been first duly sworn, was examined and

  17    testified as follows:

  18                         DIRECT EXAMINATION

  19    BY MR. TIEGER:

  20              Q.       Good morning, Mr. Shade.

  21              A.       Good morning.

  22              Q.       And if you can pull that mike down

  23    a little bit so we can all hear you.                   Thank you.

  24                       Could you tell everybody your

  25    name, and spell your first and last name for
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   1    me?

   2              A.       Dean Shade, Jr., D-E-A-N,

   3    S-H-A-D-E, Jr.

   4              Q.       Where do you live, Mr. Shade?

   5              A.       1804 Republic.

   6              Q.       Did you say 1804?

   7              A.       Yes, sir.

   8              Q.       Could you describe that building

   9    for the jury, if you could?

  10              A.       It kind of -- it's a huge apartment

  11    building.       It goes from like maybe a block long

  12    around the corner on Vine Street to Republic,

  13    and back around toward Vine.

  14              Q.       And the jury, we were all at the

  15    scene a few days ago, and I think we saw -- I

  16    know I saw you there.            I don't know if the jury

  17    did, but was that you that we saw at the scene

  18    that day?

  19              A.       Yes, sir.

  20              Q.       And that's the building that you

  21    live in?

  22              A.       Yes, sir.

  23              Q.       How many ways in and out of that

  24    building are there?

  25              A.       On the Republic side, where I live
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   1    at, you can only go through my entranceway.                      But

   2    there is a back, but my key won't fit that back

   3    going toward Vine Street.              And on the other

   4    side, the 1802 is like the same way, but my key

   5    won't fit those doors going toward the back.

   6                       Now around on the side is an alley,

   7    it's also a part of our building that those keys

   8    can fit my door and they'll fit the door going

   9    back to the Vine Street side.

  10              Q.       Okay.     How long have you been in

  11    that building, Mr. Shade?

  12              A.       Approximately about six years.

  13              Q.       Who do you stay there with?

  14              A.       Myself.

  15              Q.       What floor of the building are you

  16    on?

  17              A.       The third and fourth floor.

  18              Q.       You have two floors?

  19              A.       Yes, sir.

  20              Q.       And do you have windows in that

  21    unit?

  22              A.       Yes, sir.

  23              Q.       What do those look out onto?

  24              A.       Toward the Republic side, looking

  25    out toward southwest to the Findlay Market.
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   1              Q.       So if you were in your house and

   2    looking out the windows onto Republic Street,

   3    what would you see?

   4              A.       The Hub Center.         It's like a little

   5    vacant lot across the street where I live at, a

   6    portion of the park, and down toward the

   7    alleyway going toward Race Street.

   8              Q.       Okay.     Do you know the Gilbert

   9    family at all, Mr. Shade?

  10              A.       I'm familiar with the mother and

  11    her fiance.

  12              Q.       Do they stay in your building?

  13              A.       They didn't actually live in my

  14    building, but, like I say, the building go a

  15    whole block long, and their apartment was like

  16    off in the alley side of the building.

  17              Q.       So if we were looking at your

  18    building -- I know there is two different

  19    address numbers, what's your address again?

  20              A.       1804.

  21              Q.       And is there an 1802?

  22              A.       There is 1802 also.

  23              Q.       And would they have lived on the

  24    1802 side, or do you think they still lived on

  25    the 1804 side?
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   1              A.       It wouldn't be either side because

   2    when you get to 1804 there is an alley, and

   3    their apartment building literally sits in the

   4    alley.

   5              Q.       Okay.     Gotcha.      How long have you

   6    been familiar with the Gilbert family, Mr.

   7    Shade?

   8              A.       Well, I've been knowing Ms. Quinn

   9    since we were going to school, her and JT.

  10              Q.       And you said you knew her boyfriend

  11    or fiance?

  12              A.       Yes.

  13              Q.       Do you know her kids at all?

  14              A.       Not -- I mean, not really because

  15    they were kids, but I had an acquaintance on the

  16    one boy, Shawn, a couple times.                 He got a car

  17    out there, I helped him put some speakers in his

  18    car one time out there, but other than that I've

  19    never really acquainted with him.

  20              Q.       And what about Kareem Gilbert, had

  21    you ever seen him around?

  22              A.       Yes, just in speaking, you know, I

  23    just knew that was Quinn's son.

  24              Q.       And you knew his face, his

  25    experience, what he looked like?
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   1              A.       Yes, sir.

   2              Q.       You recognized him?

   3              A.       Yes.

   4              Q.       And as far as Shawn Gilbert, are he

   5    and Kareem around the same age, maybe within a

   6    couple years of each other?

   7              A.       Yes.

   8              Q.       Teenagers?

   9              A.       Yes.

  10              Q.       And would you recognize -- know

  11    Shawn, what he looked like and so forth?

  12              A.       Yes.

  13              Q.       And did you know a man by the name

  14    of Ruben Jordan?

  15              A.       Not -- I didn't.          I don't even know

  16    him, no.

  17              Q.       Do you -- looking around the room,

  18    do you see anybody that looks familiar that has

  19    a connection to the area that you live in?

  20              A.       I mean, I know of him, but I didn't

  21    know him personally.

  22              Q.       Okay.     Do you see him here today in

  23    the room?

  24              A.       Yes, sir.

  25              Q.       Where is he?
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   1              A.       At the defendant's table.

   2              Q.       In the striped shirt, right here

   3    with the baldhead?

   4              A.       Yes, sir.

   5              Q.       And how was it that you came to

   6    know -- I'll say recognize or be acquainted with

   7    him at all?

   8              A.       Because for a long time I always

   9    thought that JT was Quinn's baby daddy.                    And

  10    after a while I seen him a couple times around

  11    there, and then somebody happened to mention to

  12    me that that was some of the kids' daddy, and I

  13    really never knew that.             And that's the only

  14    reason I had acquaintance with him.

  15              Q.       So the connection was that he may

  16    have been Kareem or Shawn's father?

  17              A.       Yes.

  18              Q.       But he didn't stay down there with

  19    the family anymore?

  20              A.       Right.

  21              Q.       How often would you see him in that

  22    area, Mr. Shade?

  23              A.       I only saw him down there even like

  24    maybe once or twice with his people down there.

  25              Q.       Over the course of the number of
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   1    years that you were down there?

   2              A.       Yes, sir.

   3              Q.       Are you out a lot?

   4              A.       Pretty much, yes, sir.

   5              Q.       I mean, do you kind of know what's

   6    going on in your neighborhood?

   7              A.       Yes.

   8              Q.       Familiar with the people and so

   9    forth?

  10              A.       Yes.

  11              Q.       Is that common?

  12              A.       Yes.

  13              Q.       That everybody kind of knows each

  14    other in a small neighborhood like that?

  15              A.       Yes, sir.

  16              Q.       Now, you do have a prior criminal

  17    history within the last 10 years in terms of

  18    theft, felony, dishonesty, crimes such as that.

  19    You have a possession of drug conviction, that

  20    was this year?

  21              A.       Yes, sir.

  22              Q.       And that was the drug Oxycodone, I

  23    think?

  24              A.       Yes, sir.

  25              Q.       And are you on probation to who?
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   1              A.       Yes, sir.

   2              Q.       Do you know what judge you're on

   3    probation to?

   4              A.       DeWine.

   5              Q.       Okay.     And you didn't do time on

   6    that at all, you're on probation?

   7              A.       Yes, sir.

   8              Q.       And with regard to that case, I

   9    think a few days ago you had asked me to somehow

  10    get involved in that; is that correct?

  11              A.       Yes, sir.

  12              Q.       What did you ask me to do?

  13              A.       I can't pay the fine.

  14              Q.       How much do you owe?

  15              A.       It's a standard probationary fine

  16    that they require.

  17              Q.       Do you know around how much that

  18    is?

  19              A.       Like 1500 bucks.

  20              Q.       Okay.     And do you have the funds to

  21    pay that?

  22              A.       No, sir.

  23              Q.       Why can't you pay that?

  24              A.       Because I'm disabled.            I'm on

  25    disability and I take care of my grandchildren.
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   1              Q.       Is there something wrong, you told

   2    me, with your hands?

   3              A.       I have -- I can't feel my hands.

   4    My hands are numb.           I have no feelings in my

   5    hands.

   6              Q.       And you asked me to go to Judge

   7    DeWine and let him know that you're indigent and

   8    can't pay that fine?

   9              A.       Yes, sir.

  10              Q.       And I think I told you I could

  11    speak to him, but there is no promises at all

  12    and --

  13              A.       Exactly.

  14              Q.       -- whatever he decides he decides?

  15              A.       Yes, sir.       And I'm ready to do

  16    community service if he says no.

  17              Q.       Okay.     Did you become aware, Mr.

  18    Shade, of a street murder of a Brian Austin on

  19    October 16th of 2008?

  20              A.       Yes, sir.

  21              Q.       How did you become aware of that?

  22              A.       I heard the gunshot.           They were so

  23    loud that night.           And I watched him stagger and

  24    fall in front of the Hub Center and lay down and

  25    he died.
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   1              Q.       Did you see the police arrive and

   2    so forth?

   3              A.       Yes, I did.

   4              Q.       Did you know Mr. Austin prior to

   5    that?

   6              A.       I just happened to see him back and

   7    forth around there.           Like I say, I was pretty

   8    much to myself.           I would speak to him.           You

   9    know, younger guys like that I don't really deal

  10    with them too much.           I just kind of speak.             If

  11    they speak, I do; if they don't, I go on about

  12    my business.

  13              Q.       And were you aware that Kareem

  14    Gilbert was a suspect in the Austin homicide in

  15    the days or weeks following?

  16              A.       Yes.

  17              Q.       And did you ever speak to Victor

  18    Davis -- first of all, did you know Victor

  19    Davis?

  20              A.       Yes, sir, I did.

  21              Q.       And how did you know Mr. Davis?

  22              A.       I met him.       He just welcomed me to

  23    the neighborhood when I moved in.                 He lived

  24    there before I moved over there, and when I

  25    moved in he just kind of welcomed me around
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   1    there.

   2              Q.       What kind of guy was Victor Davis?

   3              A.       He's a great guy, real great guy.

   4    Heck of a laugh, and that laugh would make you

   5    smile, make the whole room light up.                   He was a

   6    real good guy.

   7              Q.       Did he have a nickname at all?

   8              A.       They call him Dread.

   9              Q.       And why was that?

  10              A.       Because he had dreadlocks, you

  11    know, locks.

  12              Q.       Did you ever speak to Victor Davis

  13    after the Austin homicide, Mr. Shade?

  14              A.       Yes, sir.

  15              Q.       And were you aware that he was a

  16    witness to the Austin murder?

  17              A.       Well, basically what he told me is

  18    that he said Brian was his friend, and he wasn't

  19    gonna let him go out like that.                 He said he was

  20    gonna tell them whoever done it.

  21              Q.       Was he pretty strong about

  22    cooperating and making sure the truth came out

  23    on that?

  24              A.       Very much so.

  25              Q.       Do you know if he was in any fear
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   1    at all for his own safety after he acknowledged

   2    that he was an eyewitness and would cooperate?

   3              A.       Really no fear, but he approached

   4    me one day and said come here, man, you hear

   5    anyone around here talking about anything about

   6    me or something like that?              I said not really,

   7    you know, because I don't really associate

   8    around by the business.             I was -- you know,

   9    didn't know too many people around there.                     And I

  10    said no, not really.            He said if you do, let me

  11    know, I said I will.

  12              Q.       Moving now to where Victor Davis

  13    lived, Mr. Shade, in relation to where you

  14    lived.

  15              A.       He lived in 1802 side with his

  16    sister on the second and third floor.

  17              Q.       Was it your same building?

  18              A.       Yes.

  19              Q.       And how close or far away was it

  20    where he lived to where the Gilbert family

  21    lived?

  22              A.       Oh, maybe about 10, 15 feet around

  23    the alley, because he was here, I was here, and

  24    they lived around the alley right there.

  25              Q.       Now, moving to October 31st of
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   1    2008, around 11:25 to 11:30 at night, where were

   2    you that evening?

   3              A.       On my fourth floor of my apartment,

   4    laying across my bed.

   5              Q.       And could you describe to the jury

   6    what, if anything, you heard or saw?

   7              A.       Laying there almost in a nod, and

   8    then I heard like a muffle, pop, pop.                   So I

   9    hesitated for a minute, and I said to myself,

  10    like, not again.          And I heard somebody say

  11    "Dread, get up."

  12                       So I said Dread.          So I got up and

  13    went to the window, and I kind of looked out the

  14    window like Dread, and I could see him laying

  15    out there, and like he had a gunshot to his

  16    head, and I could see him just kind of

  17    flinching.       You know, I watched him take his

  18    last two breaths.

  19                       So I kind of panicked.            I couldn't

  20    find my cell phone, so I ran downstairs.                     I went

  21    back upstairs and I found my phone, and then I

  22    called 911 to get him some help.

  23              Q.       How long did it take, Mr. Shade, if

  24    you could just approximate between the time you

  25    heard the pops you told the jury about and the
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   1    time you went to the window?

   2              A.       Like I said, about a -- I laid

   3    there for a minute because, like I said, I just

   4    watched that boy die out there on the street,

   5    and it took maybe about five to seven seconds

   6    for me to get up and look out the window.

   7              Q.       Doesn't sound like you wanted to

   8    look out the window?

   9              A.       I didn't.

  10              Q.       Was there anybody at or near the

  11    body that you saw in the street?

  12              A.       Yes, sir, there was.

  13              Q.       And could you describe who you saw?

  14              A.       I really -- at the time I heard

  15    somebody, like he was pulling on Dread's arm,

  16    and I seen a guy turn and walk away.                   It's like

  17    a little trail where we live at, and you can

  18    walk through the trail, head back toward to the

  19    Findlay Market, you know.

  20                       Like I say, like I've been saying

  21    all along, I really can't say exactly who.                      It

  22    was a guy about six-foot tall and he did have a

  23    clean shaven head.

  24              Q.       Okay.     And you've identified Ruben

  25    Jordan as the person that you seen in the area a
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   1    couple times over the years.               Was there any --

   2    if you could tell the jury, in your own words,

   3    Mr. Shade, any similarity between the man, the

   4    baldheaded man standing over the body, and Mr.

   5    Jordan?

   6              A.       Yes.

   7              Q.       Could you describe that similarity

   8    to the jury?

   9              A.       I mean, cleanness of the head and

  10    the size, stature.           I mean, he wasn't as big as

  11    he is now.       This guy was a little slimmer then,

  12    you know.       But, like I said, I never did see his

  13    face.     I just happened to see him walk through

  14    the trail, and I said, well, maybe he's going to

  15    get some help because it's a telephone down on

  16    the corner by the Findlay Market.                 And I said

  17    maybe he's gonna get dude some help or

  18    something, you know.            And once I made the 911

  19    call and they called me back, I was the only one

  20    that made the 911 call, so...

  21              Q.       And the baldheaded man with the

  22    similarities to Mr. Jordan, did he ever come

  23    back?

  24              A.       No, sir.

  25              Q.       You say he's a little like bulkier
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   1    you mean like weight wise, like maybe he looks

   2    little?

   3              A.       Yeah.     This guy wasn't that big.

   4              Q.       Okay.     And in terms of -- I don't

   5    know if you can put it in a percentage, Mr.

   6    Shade, how sure are you that it was or wasn't

   7    Mr. Jordan?

   8              A.       I could say about 75 percent.

   9              Q.       Sure that what?

  10              A.       That it could have been.

  11              Q.       Okay.     At the time that he -- I

  12    think you spoke to police officer -- Detective

  13    McGuffey about what had happened.                 When you

  14    talked to him, you had thought that the

  15    baldheaded guy or the shaved head guy was trying

  16    to help your friend on the street.                  Had you

  17    rethought that at all?

  18              A.       Yes.    I mean, because I'm thinking

  19    I heard him say "Dread" before I heard the

  20    shots, and they sounded so muffled, so I don't

  21    know if he was -- if he had cornered him out

  22    there or caught him coming out there or

  23    whatever, 'cause I was with him earlier in the

  24    day and he had no fear of nothing going on or

  25    anything, you know.
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   1                       So I don't know if they -- whoever

   2    it was cornered him out there, caught him

   3    getting out of the car or something and he kind

   4    of -- like because I heard a little scuffling

   5    sound before, but I really didn't pay it no

   6    attention because it was all the way -- I really

   7    didn't pay it any attention until after I heard

   8    the shots.

   9              Q.       And the person was trying to -- was

  10    over his body grabbing his arm you said?

  11              A.       Yes.

  12              Q.       And you initially thought he was

  13    trying to help him?

  14              A.       I thought he might have, like I

  15    also heard somebody -- like somebody might have

  16    said get up, Dread.           And I'm thinking to myself,

  17    I know Dread probably got drunk out there and

  18    fell, you know, that's what my thinking was at

  19    first.     And so that's what made we want to get

  20    up and look too, because something I wanted to

  21    laugh at if it was, you know, and I seen what

  22    had happened.

  23              Q.       Thinking back now, the person is

  24    like get up, get up, are you thinking now that

  25    was a friendly gesture or a taunting gesture?
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   1              A.       More like a taunting, now that I

   2    think about it.

   3              Q.       And you had said, Mr. Shade, that

   4    you were familiar with Kareem Gilbert, his

   5    appearance, Shawn Gilbert and so forth, the

   6    shaved head, baldhead guy standing over the body

   7    of Victor Davis, could that have been Kareem

   8    Gilbert?

   9              A.       Absolutely not.

  10              Q.       Could it have been Shawn Gilbert?

  11              A.       No, sir, absolutely not.

  12              Q.       And then did the police come on the

  13    scene then?

  14              A.       Yes.

  15              Q.       And try to tend to Mr. Davis' body?

  16              A.       Yes.

  17                       MR. TIEGER:       Just one moment,

  18              Judge.     No further questions, Judge.

  19                       THE COURT:       Cross?

  20                          CROSS-EXAMINATION

  21    BY MR. WHALEN:

  22              Q.       Mr. Shade, you have had a good deal

  23    of time to think about this, have you not?

  24              A.       Yes, sir.

  25              Q.       Do you remember when it occurred?
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   1              A.       Halloween.

   2              Q.       What year?

   3              A.       '08.

   4              Q.       Okay.     And you got up and you

   5    called the police?

   6              A.       Yes, sir.

   7              Q.       And then before you called the

   8    police you heard someone say "Dread, get up," am

   9    I correct?

  10              A.       Yes.

  11              Q.       Was that the first thing you heard

  12    this person say?

  13              A.       Yes.

  14              Q.       Okay.     Do you remember that you

  15    came in and gave an interview to Officer

  16    Terry -- Detective McGuffey a couple days after

  17    the shooting?

  18              A.       I think so.

  19              Q.       Do you know whether you went down

  20    and gave an interview?

  21              A.       I did, but I don't know if it was a

  22    couple days afterwards or not.

  23              Q.       Okay.     But it was within a week of

  24    when it occurred?

  25              A.       It could have been, sir.
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   1              Q.       But you disagree with me, or are

   2    you saying it was longer?

   3              A.       No, I just can't remember at the

   4    time how long it was after that.

   5              Q.       Do you have trouble with your

   6    memory?

   7              A.       No, sir, I don't.

   8              Q.       Okay.     And in that interview,

   9    McGuffey said -- Officer McGuffey asked you a

  10    question, but he asked a question:                  But he

  11    called him Dread?          And your answer was, yeah, he

  12    called him Dread, but I heard him call him

  13    Roots.     Get up, Roots.          You all right.         You all

  14    right, Roots.        You all right.          Dread, you all

  15    right?

  16              A.       True.

  17              Q.       You didn't mention the name Roots

  18    here today?

  19              A.       I don't recall Roots.            I never

  20    called anybody Roots.

  21              Q.       I didn't ask you if you called him,

  22    did you hear somebody call Dread Roots?

  23              A.       No, I didn't.

  24              Q.       So your information that you gave

  25    the officer, within a week of when this
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   1    occurred, is not correct?

   2              A.       I never called anybody Roots.                I

   3    always called him Dread or by their name.

   4              Q.       You indicated to McGuffey that what

   5    you heard out on the street was someone saying

   6    he called him Dread, but I heard him call him

   7    Roots, get up, Roots?

   8              A.       I don't remember that.

   9              Q.       You don't remember that at all?

  10              A.       No, sir, I don't.

  11              Q.       Okay.     And Officer McGuffey said

  12    are you saying Roots?            And you answered he said

  13    Roots at first, and then he said Dread also.

  14    Roots, yeah, like friend, Roots.                 Did you say

  15    that?

  16              A.       I don't recall that.           Like I said,

  17    I don't remember calling anybody Roots.

  18              Q.       If someone is saying to the man

  19    that is laying, Mr. Davis, on the ground, get

  20    up, are you all right, you all right?                   You all

  21    right?     You all right?          Does that sound like

  22    taunting to you?

  23              A.       Depending on the way you look at

  24    it.

  25              Q.       Well, I'm asking how you look at
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   1    it.

   2              A.       It could be, yes.

   3              Q.       You never once mentioned, when you

   4    talked to the police, that you heard Mr. Davis

   5    being taunted?         Why didn't you tell them that?

   6              A.       Because I had time to look at it

   7    and think about the way it happened.                   I seen the

   8    whole case and the whole scenario in a different

   9    light.

  10              Q.       What made you see it in a different

  11    light?

  12              A.       Because the way that it happened,

  13    and there was nobody else out there that night.

  14    It was only one person over him, that was the

  15    person I seen walk away and go to the trailway.

  16              Q.       And you don't think it might have

  17    been somebody who tried to help?

  18              A.       At this point now, looking back at

  19    it, I don't think so.

  20              Q.       Well, what's occurred that made you

  21    change your mind?

  22              A.       Just the way that it's been going

  23    on.    I thought that maybe like a week or so

  24    after it happened that the guy that went through

  25    the trail was the guy that killed Dread.
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   1              Q.       So you never mentioned that to the

   2    officers?

   3              A.       There's a whole lot of things that

   4    I didn't mention that -- I mean, a whole lot of

   5    things I didn't want to be -- I didn't want to

   6    be involved with or be bothered with in the

   7    first place.        I don't want to be here now.

   8              Q.       But you made the 911 telephone

   9    call?

  10              A.       I would have made that 911 call for

  11    anybody.

  12              Q.       But the fact you made it and you

  13    know --

  14              A.       Yes.

  15              Q.       -- the police were going to know

  16    who made that call?

  17              A.       Yes, because I -- really I didn't

  18    know that, you know, I was going to be the only

  19    one that made the call, because I thought the

  20    one that walked away from Dread was going to the

  21    phone booth down the street and get him some

  22    help.     And since come to figure out that he

  23    didn't, that I was the only one that called.

  24              Q.       Nonetheless, you thought about this

  25    now and you've changed your mind and there was
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   1    taunting going on?

   2              A.       It could have been, sir, that's

   3    what I said.

   4              Q.       It could have been?

   5              A.       Yes.

   6              Q.       Now, you understand these ladies

   7    and gentlemen of the jury have a very important

   8    job in deciding whether this gentleman committed

   9    this murder?

  10              A.       Yes, sir, I do.

  11              Q.       How sure are you that it was

  12    taunting?

  13              A.       Like I say, I go back to the

  14    75 percent that it might have been the defendant

  15    that done it.

  16              Q.       And it could have been somebody

  17    trying to help him?

  18              A.       Yes, sir, it could have been.

  19              Q.       Okay.     Now, you said this was an

  20    individual walking away that was six-foot tall

  21    and bald?

  22              A.       Pretty much, yes.

  23              Q.       And I think you said that you saw

  24    Dread, am I correct?

  25              A.       Yes, sir, I did.
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   1              Q.       And his body was jerking at the

   2    time that you saw him?

   3              A.       Yes, sir.

   4              Q.       Okay.     Now, you also saw a woman

   5    there?

   6              A.       Yes, I did.

   7              Q.       Now, didn't you just tell us that

   8    the only person you saw was the bald man?

   9              A.       I said standing over him that

  10    walked away.        Miss Leah walked up the street

  11    this way.       I seen her pick an object off the

  12    ground.        She picked up another object off the

  13    ground.        She happened to see Dread, and she

  14    screamed oh, that's Dread.              And she started

  15    calling for the guy that lived up on the second

  16    floor, which his name was James.                 And by that

  17    time I was already on the phone looking out the

  18    window.

  19              Q.       Now, the items that she picked up,

  20    were they near the body?

  21              A.       They was basically -- he lived at

  22    1802, and that's the way she was coming.                     And

  23    she was picking them up coming toward where I

  24    live at, where the body was laying at.

  25              Q.       How far away was she from the body
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   1    when she picked up the first thing?

   2              A.       Maybe about three or four feet.

   3              Q.       And did you see what it was that

   4    she picked up?

   5              A.       I couldn't see what it was.               I

   6    couldn't see what it was.

   7              Q.       And how much closer to the body was

   8    she when she picked up the second thing?

   9              A.       The two items was like

  10    simultaneous.        She picked up one and she picked

  11    up another one as she was walking.                  And she

  12    happened to look up like that and saw his body

  13    laying out there.

  14              Q.       Now, did you tell the police about

  15    the man that you saw walking down the path?

  16              A.       Yes, sir.

  17              Q.       And you indicated to the police

  18    this man was between 30 and 40 years old; is

  19    that correct?

  20              A.       Yes, sir, at the time.

  21              Q.       And you say he was kind of short?

  22              A.       I said about six feet tall.

  23              Q.       Detective McGuffey --

  24                       MR. WHALEN:       I'm on Page 5.

  25                       MR. TIEGER:       Thank you.
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   1              Q.       Do you remember anything about his

   2    physical description, Mr. Shade?                 Not really.        I

   3    just remember he was kind of short.                  I think he

   4    had on a brown jacket, or something like that.

   5    But the way it just seemed to me, it was more he

   6    was trying to help him.

   7              A.       That's what I said, sir.

   8              Q.       And you told the officer he was

   9    short?

  10              A.       I said about six feet tall.               I

  11    mean, I may have said that, but that's, you

  12    know, that's what I said.

  13              Q.       What's what you said?

  14              A.       I said he was short and had on a

  15    brown jacket.        He might have been trying to help

  16    Dread.

  17              Q.       And that's what you believed when

  18    you talked to the police a couple days later?

  19              A.       Exactly.

  20              Q.       And now you have changed your mind?

  21              A.       I never changed my mind.             I just

  22    happened to look at the scenario in my head and

  23    what happened, sir.

  24              Q.       But do you think that six foot tall

  25    is short?
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   1              A.       I mean, depending on who you

   2    talking to.

   3              Q.       Well, I know.        But if you're

   4    talking to Kareem --

   5              A.       If you're talking to me it's not

   6    short.

   7              Q.       Six foot is not short to you?

   8              A.       No, sir.

   9              Q.       Okay.     But you told the police he

  10    was short?

  11              A.       Yes.

  12              Q.       Okay.     And you told the police you

  13    thought he was trying to help?

  14              A.       Yes, sir.

  15              Q.       Detective McGuffey --

  16                       MR. WHALEN:       On Page 12.

  17                       MR. TIEGER:       Thank you.

  18              Q.       Okay.     Well, who's the little guy

  19    that shot the guy?           And you said the Gilbert

  20    boy.

  21              A.       What?

  22                       MR. WHALEN:       May I approach, the

  23              witness, Your Honor?

  24                       THE COURT:       Yes.

  25              Q.       This is a transcript of what you
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   1    said to the police.           Detective McGuffey said

   2    okay.     Well, who's the little guy that shot that

   3    guy?    And you said the Gilbert boy.

   4              A.       Okay.     They shot what guy?

   5              Q.       Mr. Davis that was down on the

   6    street.

   7              A.       I don't remember never saying that.

   8              Q.       Okay.     Sir, did you call 911 two

   9    times that night?

  10              A.       No, sir.

  11              Q.       So if they had gotten two 911

  12    calls, one of them was somebody else other than

  13    you?

  14              A.       I called them and then they called

  15    me back.

  16              Q.       Did you tell them that there was a

  17    minivan that drove off?

  18              A.       Nope.

  19              Q.       When you called, did the 911

  20    operator tell you that they already had a call

  21    already and the police were on their way?

  22              A.       No, not that I know of.             I thought

  23    I was the only one that called.

  24              Q.       You indicated to the 911 operator

  25    that you saw this man take his last breath?
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   1              A.       Yes, sir.

   2              Q.       Okay.     Was there a police officer

   3    --

   4              A.       That I thought.

   5              Q.       Was there a police officer standing

   6    by him when he did that?

   7              A.       Nope.

   8              Q.       How much longer after he took that

   9    last breath did the police officer show up?

  10              A.       After I saw that, I got out the

  11    window.        I laid on my bed, everything went

  12    blank, quiet, black.            I didn't want to see

  13    anymore.

  14              Q.       When the police show up, there is

  15    usually sirens?

  16              A.       Yes.

  17              Q.       Did you hear sirens?

  18              A.       Yes, I did.

  19              Q.       How long after you made the phone

  20    call?

  21              A.       Oh, they was pretty quick that

  22    night.     They was there almost immediately that

  23    night.

  24              Q.       Okay.     And you see blue lights

  25    flashing in the air?
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   1              A.       Yes.

   2              Q.       And those were almost immediate?

   3              A.       Yes.

   4              Q.       But you don't know what they were

   5    doing down there?

   6              A.       I knew what they was doing.               A man

   7    just got killed out there.              I knew what they was

   8    doing.     I just didn't want to see it.

   9              Q.       I think you indicated -- how many

  10    shots did you say you heard?

  11              A.       I think I heard like two shots.

  12              Q.       Okay.     We are going back to your

  13    discussions with Officer McGuffey.

  14                       MR. WHALEN:       I'm on Page 2.

  15                       MR. TIEGER:       Thank you.

  16                       MR. WHALEN:       And 3.

  17              Q.       Detective McGuffey said, do you

  18    remember how many you heard?               They were talking

  19    about shots.        I'm sorry.       I'll go forward.

  20                       Detective McGuffey said, okay.

  21    Can you tell me what you saw or heard.                    Mr.

  22    Shade:     First like sound like a little -- like

  23    a little rustling, then I heard shots pow, pow,

  24    pow.     Detective McGuffey:           Do you remember how

  25    many you heard?           Mr. Shade:      It was like three
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   1    to four shots.

   2              A.       I may have, sir.

   3              Q.       Do what?

   4              A.       I may have said that.

   5              Q.       You may have said that?

   6              A.       Yes.

   7              Q.       Okay.     And you had forgotten about

   8    that?

   9              A.       No, it was just -- it was just so

  10    crazy to see him laying out there.                  I mean, it

  11    was just -- like I said, I had -- I couldn't

  12    find my phone.         I panicked.        I was running up

  13    and down them stairs trying to find a phone.                      It

  14    was just kind of crazy at that time.

  15              Q.       So you were in an excited state?

  16              A.       Yes.

  17                       MR. WHALEN:       I have no other

  18              questions, Your Honor.

  19                       THE COURT:       Okay.     Go ahead,

  20              Counsel.

  21                       MR. TIEGER:       Thanks, Judge.

  22                        REDIRECT EXAMINATION

  23    BY MR. TIEGER:

  24              Q.       Mr. Shade?

  25              A.       Yes.
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   1              Q.       I don't know if you have looked at

   2    this transcript or not.             I don't think we went

   3    over it at all.           Basically what happened is the

   4    conversation you had with Officer McGuffey was

   5    taped, that was transcribed, which means that a

   6    court reporter typed up what you said and then,

   7    as with all the statements, a copy of that is

   8    given to us, but then a copy is given to the

   9    defense team so they would have that to review

  10    as well before the trial.

  11                       But I'm not sure if you understood

  12    one of the questions Mr. Whalen was asking.

  13    Going to page -- the bottom of Page 11, where

  14    you had said, you know what, sir, this little

  15    guy got killed over there in front of the Hub.

  16    Were you referring to Mr. Austin?

  17              A.       Yes.

  18              Q.       And McGuffey said, right.              And you

  19    said a couple weeks ago.             McGuffey said uh-huh.

  20    And then you said, all right.                Now, about like a

  21    week or so after, it was kind of peculiar

  22    because Dread asked me, like what you hear about

  23    me out here, man?           You know, what they talk

  24    about me out here like that?               And let me know

  25    the little guy shot and killed that guy over
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   1    there.     And then he asked you:             Well, who was

   2    the little guy that shot that guy?                  And that's

   3    when you said?

   4              A.       The Gilbert boy.

   5              Q.       The Gilbert boy.          Is that -- you

   6    weren't referring to Mr. Davis, you were

   7    referring to Mr. Austin?

   8              A.       Exactly.

   9              Q.       He didn't read the first part of

  10    the transcript, just that last little bit?

  11              A.       Exactly.

  12              Q.       Okay.     And when you said it was the

  13    Gilbert boy that choked that guy around the

  14    corner, would you have said "choked that guy

  15    around the corner"?

  16              A.       Choke?

  17              Q.       That's -- and it wasn't Ms. Renken,

  18    but a court reporter was trying to understand

  19    your words and put "choked that guy".                   Did you

  20    say that?

  21              A.       I don't -- I don't believe I meant

  22    to say choke.

  23              Q.       Okay.     She might have got --

  24    misunderstood what you said?

  25              A.       Yeah.
